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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

PAUL BATISTE D/B/A                                                  CIVIL ACTION
ARTANG PUBLISHING LLC

VERSUS                                                              NO. 13-5463

FAHEEM RASHEED NAJM P/K/A                                           SECTION "N" (1)
T-PAIN, ET AL

                                   ORDER AND REASONS

       Before the Court is the Defendants' Motion to Dismiss (Rec. Doc. 58). Plaintiff has filed

an opposition memoranda (Rec. Doc. 111), and the Defendants have filed a reply memoranda

(Rec. Doc. 113).

I.     BACKGROUND:

       Plaintiff Paul Batiste, doing business as Artang Publishing LLC, is the founding member

and owner of the Batiste Brothers Band, founded in New Orleans, Louisiana in 1976. Rec. Doc.

1 at 1. In this copyright infringement action, the plaintiff has sued dozens of defendants

(including the Defendants1 who are movants in the instant motion), alleging that 45 of his music



       1
         As used herein, the term "Defendants" includes: EMI April Music Inc., EMI
Blackwood Music Inc., Sony/ATV Music Publishing LLC, Sony/ATV Songs LLC, Sony/ATV
Tunes LLC, RCA Records, RCA/Jive Label Group, Zomba Recording LLC, Capitol Records,
LLC, Songs of Universal, Inc., The Island Def Jam Music Group, UMG Recordings, Inc.,
Universal Music – MGB Songs, Universal Music – Z Tunes LLC, Universal Music Corporation,
Universal Music Publishing, Inc., Universal – Polygram International Publishing, Inc., Atlantic
Recording Corporation, Warner-Tamerlane Publishing Corp., WB Music Corp., Fueled by
Ramen LLC, Trac-NField Entertainment, Cash Money Records, Inc. and Nasty Beat Makers
Productions, Inc.
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compositions are infringed in 63 of the Defendants' songs. Plaintiff has alleged infringement of

various beats, lyrics, chords, melodies, chants, hooks, horns, and "gliss" within his songs. See

Rec. Doc. 1. On December 13, 2013, Defendants filed the instant motion as a Motion to

Dismiss pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure. Rec. Doc. 58.

Given that both parties submitted materials outside the pleadings, the Court gave notice pursuant

to Rule 12(d) that it would treat the motion as one for summary judgment pursuant to Rule 56.

See Rec. Doc. 116.

II.    APPLICABLE LAW:

       A.      Summary Judgment under Rule 56:

       "The Court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law." Fed.

R. Civ. P. 56(a). "When a party seeks summary judgment pursuant to an affirmative defense,

such as a statute of limitation, the movant must establish all of the elements of the defense."

Citigroup Inc. v. Federal Ins. Co., 649 F.3d 367, 371 (5th Cir. 2011). "If the movant does so, the

burden shifts to the nonmovant to provide specific facts showing the existence of a genuine issue

for trial." Id. "[T]here is no issue for trial unless there is sufficient evidence favoring the

nonmoving party for a jury to return a verdict for that party." Amazing Spaces, Inc. v. Metro

Mini Storage, 608 F.3d 225, 234 (5th Cir. 2010) (quoting Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 249 (1986)). Although the Court must draw in favor of the nonmoving party all

reasonable inferences that may be drawn from the evidence submitted, "a party cannot defeat

summary judgment with conclusory allegations, unsubstantiated assertions, or 'only a scintilla of


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evidence.' " Turner v. Baylor Richardson Medical Center, 476 F.3d 337, 343 (5th Cir. 2007)

(quoting Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir.1994)); Bellard v. Gautreaux,

675 F.3d 454, 460 (5th Cir. 2012). The substantive law will determine the materiality of facts,

and "[o]nly disputes over facts that might affect the outcome of the suit under governing law will

properly preclude the entry of summary judgment." Liberty Lobby, 477 U.S. at 248.

       B.      Copyright Infringement:

       To establish a claim for copyright infringement, a plaintiff must show: (1) that he owns

a valid copyright (which is not challenged in the instant motion), and (2) that the defendant

copied constituent elements of the plaintiff's work that are original and copyrightable. Positive

Black Talk, Inc. v. Cash Money Records, 394 F.3d 357, 367 (5th Cir. 2004), abrogated on other

grds by Reed Elsevier, Inc. v. Muchnick, 559 U.S. 154 (2010); Engineering Dynamics, Inc. v.

Structural Software, Inc., 26 F.3d 1335, 1340 (5th Cir. 1994), supplemented, 46 F.3d 408 (5th Cir.

1995). "To establish actionable copying (i.e. the second element), a plaintiff must prove: (1)

factual copying and (2) substantial similarity." Positive Black Talk, Inc., 394 F.3d at 367. This

traditional two-step determination — known traditionally as the Arnstein test2 — continues to be

employed and has also evolved into more elaborate formulations, as discussed below.

       The Defendants have assumed for purposes of the instant motion that the element of

factual copying can be met and ask the Court to dismiss the plaintiff's claims on grounds that the

second element of copying — i.e., the test for substantial similarity — cannot be met as a



       2
         Arnstein v. Porter, 154 F.2d 464 (2d Cir. 1946). Arnstein articulated the two elements
this way: "(a) that defendant copied from plaintiff's copyrighted work and (b) that the copying
(assuming it to be proved) went so far as to constitute improper appropriation." Id. at 468.


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matter of law. Thus, the standards for proving the element of factual copying are not directly

relevant to the task at hand. Nevertheless, because components of the factual copying inquiry

are sometimes confused and conflated with those for determining substantial similarity (i.e., the

actionability of the copying), the Court will summarize the factual copying inquiry. Also,

because copying is actionable only where the defendant has copied aspects of the plaintiff's work

that are original and subject to copyright,3 the actionability inquiry (i.e., substantial similarity)

necessarily entails determination as to whether certain elements of the plaintiff's work are non-

original or otherwise unprotectable. Therefore, the Court will also address briefly the

requirements of originality and protectability as well.

                1.      Factual Copying — "Probative Similarity"

        In some cases, the plaintiff has direct evidence of copying. Indeed, it is not unusual for a

defendant to admit copying a small element of the plaintiff's work and defend the suit solely on

grounds that the copied element is unprotectable or that the portion copied was not substantial.

Where copying is contested and direct evidence of copying is unavailable, "factual copying may

be inferred from (1) proof that the defendant had access to the copyrighted work and (2)

probative similarity." Positive Black Talk, 394 F.3d at 368 (quoting Peel & Co. v. Rug Mkt, 238

F.3d 391, 394 (5th Cir. 2001). Although courts once used the term "substantial similarity" to

apply to both inquiries, the test for "probative similarity" differs in both purpose and substance

from that for determining "substantial similarity" (i.e. whether the copying is legally actionable).

In determining probative similarity, the plaintiff's entire work is considered — "including both

copyrightable and non-copyrightable parts" — and compared with the defendant's work,


        3
            Positive Black Talk, 394 F.3d at 367; Eng'g Dynamics, 26 F.3d at 1340.

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"looking for any similarities between their constituent parts." Positive Black Talk, 394 F.3d at

369-70. "[T]he fact that non-protectable elements were copied, although not a basis for liability,

can be probative of whether protected elements were copied (i.e., help establish probative

similarity)." Id. (quoting O.P. Solutions, Inc. v. Intellectual Prop. Network, Ltd., 1999 WL

47191 *3 (S.D.N.Y. 1999). A finding of probative similarity may be supported by a finding of

"any similarities between the two works (whether substantial or not) that, in the normal course of

events, would not be expected to arise independently in the two works and that therefore might

suggest that the defendant copied part of the plaintiff's work." Positive Black Talk, 394 F.3d at

370.4

                2.      Originality and Protectability:

         "[T]he mere fact that [a plaintiff's works] are copyrighted does not mean that all aspects

of those [works] are automatically protected." Kepner-Tregoe, Inc. v. Leadership Software, Inc.,

12 F.3d 527, 533 (5th Cir. 1994). Although the work itself may be original and subject to

copyright, it may contain constituent elements that are not subject to copyright because they are

not original or because they are otherwise unprotectable, e.g., because they constitute a concept,

method, or idea or fall under the doctrine of public domain or scènes à faire. In such a case, the




         4
          The "inverse relationship" doctrine, referenced by plaintiff in his opposition
memorandum (Rec. Doc. 111 at 7), relates to the degree of similarity required to establish
probative similarity. Where access is established, the level of probative similarity required is
reduced, "at least to the extent that the plaintiff need not prove striking similarity." Positive
Black Talk, 394 F.3d at 372 n.11. "However, the degree of access never affects the ultimate
burden to show substantial similarity." It is simply circumstantial evidence of factual copying
and is "irrelevant to the determination of whether the copying is legally actionable," which is the
subject of the instant motion. Id.

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copyright does not extend to the unprotectable element. With some caveat,5 similarity deriving

from such unprotectable elements is not actionable.

       "The sine qua non of copyright is originality." Feist Publications v. Rural Tel. Service,

499 U.S. 340, 345 (1991). Originality requires "that the work was independently created by the

author (as opposed to copied from other works), and that it possesses at least some minimal

degree of creativity." Id. at 358. Thus, "the copyright is limited to those aspects of the work —

termed 'expression' — that display the stamp of the author's originality." Kepner-Tregoe, 12

F.3d at 533 (quoting Harper & Row, Publishers, Inc. v. Nation Enterprises, 471 U.S. 439

(1985)). In other words, though the work may be original and copyrightable, the copyright does

not extend to the non-original elements of the work, and the author has no right to prevent others

from copying those elements that are not original.

       "Some material is unprotectible because it is in the public domain, which means that it is

free for the taking and cannot be appropriated by a single author even though it is included in a

copyrighted work." Boisson v. Banian, Ltd., 273 F.3d 262, 268-69 (2nd Cir. 2001) (quoting

Computer Assocs. Int'l, Inc. v. Altai, Inc., 982 F.2d 693, 710 (2nd Cir. 1992) (internal quotations

omitted)). "[A] work may be protected by copyright even though it is based on ... something

already in the public domain if the author, through his skill and effort, has contributed a

distinguishable variation from the older works."6 Norma Ribbon & Trimming, Inc. v. Little, 51


       5
           See discussions infra regarding the "total concept and feel" test and the issue of
whether unprotectable elements may be considered in combination with other elements (either
protected or themselves unprotectable) to contribute to an overall impression of substantial
similarity.
       6
         The copyright in a derivative work extends only to the original material contributed by
the author, as distinguished from the preexisting material used in the work. 17 U.S.C. § 103(b).

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F.3d 45, 47 (5th Cir. 1995) (quoting Donald v. Zack Meyer's T.V. Sales & Serv., 426 F.2d 1027,

1029 (5th Cir.1970), cert. denied, 400 U.S. 992 (1971)). However, such a "distinguishable

variation" must be "substantial and not merely trivial." Id. at 1030; see also Eng'g Dynamics, 26

F.3d at 1344 n.11 ("More than trivial originality is necessary....").

       Likewise, copyright protection does not extend to scènes à faire7 material contained

within a work. Such material includes "expressions that are standard, stock or common to a

particular subject matter or are dictated by external factors." Eng'g Dynamics, 26 F.3d at 1344.

Although it originally referred to "stock" characters or scenes for literary works and film

(particular those with a historical setting),8 it has been extended "to exclude from protection...

those elements of a work that necessarily result from external factors inherent in the subject

matter of the work." Mitel, Inc. v. Iqtel, Inc., 124 F.3d 1366, 1375 (10th Cir. 1997) (citing Gates

Rubber Co. v. Bando Chemical Industries, Ltd., 9 F.3d 823, 838 (10th Cir. 1993)). For example,

in the case of computer-related applications, these external factors may include "hardware


       7
        The french term "scènes à faire" has been translated as "scenes which 'must' be done."
Schwarz v. Universal Pictures Co., 85 F. Supp. 270, 275 (S.D. Cal. 1949).
       8
           See e.g., Zalewski v. Cicero Builder Dev., Inc., — F.3d — , 2014 WL 2521388 *4 (2nd
Cir. June 5, 2014) ("like cowboys, bank robbers, and shootouts in stories of the American
West"); Walker v. Time Life Films, Inc., 784 F.2d 44, 50 (2nd Cir.1986) ("Elements such as
drunks, prostitutes, vermin and derelict cars would appear in any realistic work about the work
of policemen in the South Bronx...Foot chases and the morale problems of policemen, not to
mention the familiar figure of the Irish cop, are venerable and often-recurring themes of police
fiction."); Hoehling v. Universal City Studios, Inc., 618 F.2d 972, 979 (2nd Cir. 1980) ("[I]t is
virtually impossible to write about" the Hindenberg without including "a scene in a German beer
hall, in which the airship's crew engages in revelry prior to the voyage ... [,] common German
greetings of the period, such as 'Heil Hitler,' or songs, such as the German National anthem....");
Black v. Gosdin, 740 F. Supp. 1288, 1293 (M.D. Tenn. 1990) ("Having chosen the familiar
theme of a broken-hearted lover seeking solace in country music, the choice of a barroom with a
jukebox...cannot be attributed to any unique creativity....").

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standards and mechanical specifications, software standards and compatibility requirements,

computer manufacturer design standards, industry programming practices, and practices and

demands of the industry being serviced." Id. at 1375 (citing Gates Rubber, 9 F.3d at 838;

Computer Assocs. Int'l, Inc. v. Altai, Inc., 982 F.2d 693, 709–10 (2nd Cir.1992).9     Thus, elements

that are customary to or dictated by the genre are not protected, as they are not original.10

        In addition to questions of originality, protectability often entails the issue of abstraction.

Copyright protection extends "only to a particular expression of an idea, and not to the idea

itself." Boisson , 273 F.3d at 268; see 17 U.S.C. § 102(b) (copyright protection for an original

work does not extend to any idea, concept, or method, regardless of the form in which it might

be embodied in the work). Thus, when an idea or concept "can be expressed in very few ways,"

the idea and the expression are said to be "merged," and the expression is deemed unprotectable.

Kepner-Tregoe, 12 F.3d at 533.


        9
          See also Engineering Dynamics, Inc. v. Structural Software, Inc., 26 F.3d 1335, 1347
  th
(5 Cir. 1994) ("On remand, the district court must consider whether or to what extent industry
demand and practice in the offshore engineering market dictated the SACS IV input and output
formats."); Plains Cotton Co-op. Ass'n of Lubbock, Texas v. Goodpasture Computer Serv., Inc.,
807 F.2d 1256, 1262 (5th Cir. 1987) ("The record supports the inference that market factors play
a significant role in determining the sequence and organization of cotton marketing software...").
        10
           See, e.g., Zalewski v. Cicero Builder Dev., Inc., — F.3d — , 2014 WL 2521388 *7 (2nd
Cir. June 5, 2014) ("There are scènes-à-faire in architecture. Neoclassical government
buildings, colonial houses, and modern high-rise office buildings are all recognized styles from
which architects draw. Elements taken from these styles should get no protection. Likewise,
there are certain market expectations for homes or commercial buildings. Design features used
by all architects, because of consumer demand, also get no protection."); Cosmos Jewelry, Ltd. v.
Po Sun Hon Co., 2009 WL 766517 *1 (9th Cir. 2009) (affirming trial judge's finding "that the
sand-blast finish on the body of the petals and high polish finish on their edges either
individually or in combination are 'standard, stock or common' to the medium of gold jewelry
making — i.e. they are 'scenes a faire' ").

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               3.      Substantial Similarity — Determining Actionability:

       The "substantial similarity" inquiry determines whether factual copying is "quantitatively

and qualitatively sufficient" to support liability.11 In other words, it tests whether the

appropriation is "legally actionable." Positive Black Talk, Inc., 394 F.3d at 368 n.7. The test

has its root in the second step of the Arnstein test — i.e., whether "the copying (assuming it to be

proved) went so far as to constitute improper appropriation." 154 F.2d at 468.

               a.      The "Laymen" or "Ordinary Observer" Approach:

       Arnstein itself gave little guidance as to substance of the test, stating only that "the test is

the response of the ordinary lay hearer" to the work and that as such, " 'dissection' and expert

testimony are irrelevant." Id. The question is simply whether the defendant took from the

plaintiff's works "so much of what is pleasing to the ears of lay listeners" comprising "the

audience for whom such popular music is composed" that it "wrongfully appropriated something

which belongs to the plaintiff." Id. at 473. Post-Arnstein, the Second Circuit has added a little

meat to the bones, stating that inquiry should be whether "the ordinary observer, unless he set

out to detect the disparities, would be disposed to overlook them, and regard their aesthetic

appeal as the same." Peter Pan Fabrics, Inc. v. Martin Weiner Corp., 274 F.2d 487, 489 (2d

Cir.1960). This traditional "ordinary observer" test has evolved into several hybrids, the two

most prominent variations being (1) the Ninth Circuit's "extrinsic/ intrinsic" test, and (2) the

Second Circuit's "abstraction-filtration-comparison" analysis. Although the Fifth Circuit has

expressly adopted neither of these approaches outside of the computer software arena, aspects of

both have permeated into this Circuit's jurisprudence. Thus, both must be addressed.



       11
        Positive Black Talk, Inc., 394 F.3d at 368 (quoting MELVILLE B. NIMMER, ET AL, 4
NIMMER ON COPYRIGHT § 13.01[B] at 13-12 (2004)).

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                b.      The Ninth Circuit's "Extrinsic/Intrinsic" Test:

       In Sid & Marty Krofft Television Productions, Inc.,12 the Ninth Circuit split the

substantial similarity inquiry into two distinct analyses: (1) one to assess whether there is

substantial similarity "of the general ideas" (the extrinsic test),13 and (2) a second to assess "the

expressions of those ideas" (the intrinsic test). Krofft, 562 F.2d at 1164. The first test is labeled

"extrinsic" because it depends not on the individual response of the factfinder to the work, but on

"specific criteria" which can be "listed and analyzed," including "the type of artwork involved,

the materials used, the subject matter, and the setting for the subject." Id. As with Arnstein's

test for inferring copying (now call "probative similarity"), "analytic dissection" and expert

testimony are permitted in the extrinsic stage of the analysis. Id.

       The test for determining whether there is substantial similarity in expressions (as opposed

to ideas) is called "intrinsic" because it "depend[s] on the response of the ordinary reasonable

person" to the work. Id. The Krofft court seemed loath to explain the standard further,

emphasizing that it is a subjective one left to the "ordinary reasonable observer." Id. at 1168.

However, the Krofft court was firm that analytic dissection of the work — i.e., assessing

similarity between isolated elements of the works — is inappropriate at this stage. Id. at 1168.

Despite prominent differences evident in analytic dissection, a "combination of many different



       12
            562 F.2d 1157 (9th Cir. 1977).
       13
            It has been noted in the literature that the Ninth Circuit's approach likely "run[s] afoul
of the strictures of § 102(b)," which prohibits the extension of copyright protection to ideas and
concepts. See Pamela Samuelson, A Fresh Look at Tests for Nonliteral Copyright Infringement,
107 Nw. U. L. Rev. 1821, 1830, 1832 (2013).

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elements" may be entitled to protection "because of its particular subjective quality." Id.

Moreover, while a similarity by itself may be trivial, a finding of substantial appropriation may

nonetheless be appropriate due to the "over-all impact and effect." Id. (quoting Malkin v.

Dubinsky, 146 F. Supp. 111, 114 (S.D.N.Y. 1956)).

       Indeed, the Ninth Circuit has held that a subjective impression of similarity between the

works "considered as a whole" may support a finding of infringement even where that holistic

impression of similarity derives from elements that are themselves unprotectable. In Roth

Greeting Cards v. United Card Co.,14 the court held that, although the text of the plaintiff's

greeting cards (e.g., "I miss you already") was not original enough to be protected and although

the defendant's card utilized different images (e.g., a forlorn man vs. a forlorn boy), the copying

was actionable because "in total concept and feel" the cards were the same. 429 F.2d at 1110.

The court found that "the combination of art work conveying a particular mood with a particular

message" and "the arrangement of the words on the greeting card," including the lettering,15 were

substantially the same. Id. Within the Ninth Circuit, this "total concept and feel" test has been

subsumed into the "intrinsic" portion of the test for substantial similarity. See, e.g., Shaw v.

Lindheim, 809 F. Supp. 1393, 1402 ("The intrinsic test measures substantial similarity of

protectible expression based on the response of the ordinary reasonable person as to whether the

defendants' work captured the 'total concept and feel' of plaintiff's work...."); Samuelson, supra,

at 1830.



       14
            429 F.2d 1106 (9th Cir. 1970).
       15
            Typeface and "variations of typographic ornamentation, lettering or coloring" are not
subject to copyright. 37 C.F.R. § 202.1(a) and (e).

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       While the Ninth Circuit holds that a combination of unprotectable elements may sustain a

finding of substantial similarity, this holding is not without limit. Satava v. Lowry, 323 F.3d

805, 811 (9th Cir. 2003) ("It is true, of course, that a combination of unprotectable elements may

qualify for copyright protection. ... But it is not true that any combination of unprotectable

elements automatically qualifies for copyright protection"). The Satava court stated the limiting

principle for this doctrine thusly: "[A] combination of unprotectable elements is eligible for

copyright protection only if those elements are numerous enough and their selection and

arrangement original enough that their combination constitutes an original work of authorship."

Id. (emphasis added). Thus, for a combination of similar unprotectable elements to be

actionable: (1) the work must contain a sufficiently high number of similar elements; and (2)

the selection and arrangement of the elements must be original.

                c.      The Second Circuit's "Abstractions" and "Filtration" Analyses:

       The Second Circuit's "abstractions" and "filtration" analyses derive from Judge Learned

Hand's opinion in Nichols v. Universal Pictures.16 The Nichols court was faced with the

question of similarity between the plaintiff's play and the defendant's motion picture. There was

no similarity between the text of the two works, the characters were quite different in their

particulars, and even the details of the plots diverged. However, the two works shared a general

theme or outline — "a quarrel between a Jewish and an Irish father, the marriage of their

children, the birth of grandchildren and a reconciliation." 45 F.2d at 122. The court

acknowledged that, while ideas are not subject to copyright, neither can the copyright be "limited




       16
            45 F.2d 119 (2nd Cir. 1930).

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literally to the text, else a plagiarist would escape by immaterial variations." Id. at 121. Thus,

the problem for the Nichols court lay in where to draw the line "between expression and what is

expressed." Id. The court reasoned: "Upon any work...a great number of patterns of increasing

generality will fit equally well, as more and more of the incident [i.e., the detail] is left out....but

there is a point in this series of abstractions where they are no longer protected, since otherwise

the playwright could prevent the use of his 'ideas'... ." Id. Using this framework, the court

concluded that the works before it were similar only in their basic themes or outlines, and that

the plaintiff's basic theme was "too generalized an abstraction from what she wrote." Id. at 122.

In other words, "[i]t was only part of her ideas" and "no more susceptible of copyright than the

outline of Romeo and Juliet." Id.

        In Computer Associates Int'l, Inc. v. Altai,17 the Second Circuit built upon Judge Hand's

"abstractions" analysis to create the "abstraction-filtration-comparison" test, which is now

widely used to assess infringement of computer programs. The challenge for the Altai court was

to formulate a structured approach for separating ideas, concepts, and processes in computer

programming from their expression, as well as separating expression entitled to protection from

that which is not, e.g., due to non-originality, scènes à faire, merger, or public domain. The

resulting test is three-fold. First, the court should "break down the allegedly infringed program

into its constituent structural parts." Id. at 706. "Then, by examining each of these parts for

such things as incorporated ideas, expression that is necessarily incidental to those ideas, and

elements that are taken from the public domain, a court would then be able to sift out all




        17
             982 F.2d 693 (2nd Cir. 1992).

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non-protectable material." Id. "Left with a kernel, or possible kernels, of creative expression

after following this process of elimination, the court's last step would be to compare this material

with the structure of an allegedly infringing program....[to] determine whether the protectable

elements of the programs at issue are substantially similar so as to warrant a finding of

infringement." Id. This final inquiry "focuses on whether the defendant copied any aspect of

this protected expression, as well as an assessment of the copied portion's relative importance

with respect to the plaintiff's overall program." Id. at 710.

       Under the traditional Arnstein test and even in Nichols, the use of "dissection" or expert

testimony was discouraged if not prohibited in the final "substantial similarity" inquiry, which

was judged strictly from the perspective of the ordinary lay listener or observer. The Altai

court, however, recognized that unlike film or music, the subject matter of computer

programming is "somewhat impenetrable" and not readily comprehensible to the lay person,

whether judge or jury. Id. at 713. Thus, in computer cases, the factfinder "need not be limited

by the structures of his own lay perspective" and the admissibility of expert testimony, even on

the substantial similarity question, should be left to the trial judge's discretion. Id. The Altai

court emphasized, however, that "[i]n so holding, [it did] not intend to disturb the traditional role

of lay observers in judging substantial similarity in copyright cases that involve the aesthetic

arts, such as music, visual works or literature." Id. at 713-14.

       Although the Altai test has not been extensively employed in its pure form outside the

realm of computer programming and other highly technical subject matters,18 courts throughout



       18
          The Fifth Circuit, in Engineering Dynamics, Inc. v. Structural Software, Inc., 26 F.3d
1335 (5th Cir. 1994), endorsed the abstraction-filtration-comparison test as a "method of
determining copyright protection for computer programs." Id. at 1342.

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the country have borrowed from its structure to add a threshold "filtering" step to the traditional

lay "ordinary observer" test in cases where the plaintiff's work contains both protected and

unprotectable elements. See, e.g., R. Ready Prods., Inc. v. Cantrell, 85 F. Supp. 2d 672, 683

(S.D. Tex. 2000). The Second Circuit refers to this filtering approach as a " 'more discerning'

ordinary observer" test. Hamil America Inc. v. GFI, 193 F.3d 92, 101 (2nd Cir. 1999) (The

"'more discerning' ordinary observer" standard "is applied when a work contains both protectible

and unprotectible elements, and requires the court to eliminate the unprotectible elements from

its consideration and to ask whether the protectible elements, standing alone, are substantially

similar."), cert. denied, 528 U.S. 1160 (2000); Folio Impressions, Inc. v. Byer California, 937

F.2d 759, 765-66 (2nd Cir. 1991).

        The Sixth Circuit has incorporated this threshold "filtering" step into a structured two-tier

analysis. "[1] first, the court must 'identify[ ] which aspects of the artist's work, if any, are

protectible by copyright' and, [2] second, 'determin[e] whether the allegedly infringing work is

substantially similar to the protectible elements of the artist's work.' " Bridgeport Music, Inc. v.

UMG Recordings, Inc., 585 F.3d 267, 274 (6th Cir. 2009) (quoting Kohus v. Mariol, 328 F.3d

848, 855 (6th Cir. 2003)) (internal quotation and citation omitted). "To complete the first step,

the court must 'filter' out elements of the work that are not original to the author[,].... [s]cènes à

faire, the indispensable or standard aspects of a work, or those that 'follow directly from

unprotectable ideas'.... " Id. (footnote omitted) (quoting Murray Hill Publ'ns, Inc. v. Twentieth

Century Fox Film Corp., 361 F.3d 312, 318-19 (6th Cir. 2004)).

        Other courts have simply applied the filter as a threshold matter or as an integral part of

the substantial similarity inquiry itself. See, e.g. Mattel, Inc. v. MGA Entertainment, Inc., 616

F.3d 904, 916 (9th Cir. 2010) (Kozinski, J.) ("The district court did err, however, in failing to


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filter out all the unprotectable elements of Bryant's sketches. * * * Although substantial

similarity was the appropriate standard, a finding of substantial similarity between two works

can't be based on similarities in unprotectable elements.");19 R. Ready Prods., 85 F. Supp. 2d at

683 ("In determining whether there is substantial similarity that will suffice for proof of

infringement, the Court should first filter out all of those elements that are not protected under

copyright laws."); Churchill Livingstone, Inc. v. Williams & Wilkins, 949 F. Supp. 1045, 1050

(S.D.N.Y. 1996) ("An elaborate abstraction-filtration-comparison for each and every element of

an alleged infringement, which may be helpful to deal with a complex computer program when

the claim is nonliteral similarity, may not be necessary in a straightforward textual copyright

case. In a case such as this, simply examining the relevant parts of a copyrighted work will

allow a court to apply settled copyright principles and thereby filter out unprotected elements.").

        Against this backdrop, the Eight Circuit stands out in expressly disallowing the filtering

of unprotectable elements. In Taylor Corp. v. Four Seasons Greetings, LLC, in two consecutive

opinions (Taylor I and Taylor II),20 the Eight Circuit (which follows the Ninth Circuit's

"intrinsic/extrinsic" test), rejected the defendant's argument that the district court should have

analyzed the works more closely to determine whether the similarity between them derived

solely from unprotectable elements. 315 F.3d at 1043; 403 F.3d at 966. The court found no

error in the district court's "total concept and feel" analysis21 and held that it is "improper to

perform analytic dissection, or 'filtering,' when conducting the 'intrinsic' step." 403 F.3d at 966.



        19
          The Mattel court's analysis is quite different from that in Roth Greeting Cards,
discussed supra and infra.
        20
             315 F.3d 1039, 1043 (8th Cir. 2003); 403 F.3d 958, 966 (8th Cir. 2005).
        21
             315 F.3d at 1043.

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                 d.      Reconciling "Filter" with "Total Concept and Feel"

         Given the apparent inconsistencies between a "filter" analysis and the Ninth Circuit's

"total concept and feel" approach, it is somewhat surprising that the Second Circuit, matrix of the

"filter" approach (also known as the "more discerning" ordinary observer test), has also adopted

the "total concept and feel" approach (though without the analytical structure of the

extrinsic/intrinsic test), including holding that a combination of unprotectable elements can

support a finding of substantial similarity. On their faces, these two approaches seem mutually

exclusive, as the Eight Circuit has found.22 At a minimum, as other courts have recognized,

reconciling the two "is not... straightforward." Mena v. Fox Entertainment Group, Inc., 2012

WL 4741389 *4 (S.D.N.Y. 2012).23 It can be done, however. If the "total concept and feel" test

is read with an eye toward Feist and the limiting principles enunciated in Satava, supra, it need

not devolve into the "wholly amorphous" "abdication of analysis" it has been critically called.24

Moreover, when read in light of their specific facts, the cases in which courts have found

substantial similarity based an original combination of unprotectable elements (which this Court

will refer to as the "unique combination"25 cases) reveal that the two approaches can co-exist

peacefully, even synergistically.


        22
             Taylor I, 315 F.3d at 1043; Taylor II, 403 F.3d at 966.
        23
          See also Gordon v. McGinley, 2011 WL 3648606 *3 (S.D.N.Y. 2011) ("Courts have
noted the apparent tension between a copyright test that embraces the holistic impression of the
lay observer and one that imposes the partial filter of the 'more discerning' observer."); Canal+
Image UK Ltd. v. Lutvak, 773 F. Supp. 2d 419, 436 (S.D.N.Y. 2011) ("On its face, disavowing
the notion that courts should compare only those elements which are in themselves copyrightable
seems hard to square with the more discerning observer test ....") (internal citations omitted)).
        24
         Tufenkian Import/Export Ventures, Inc. v. Einstein Moomjy, Inc., 338 F.3d 127, 134
  nd
(2 Cir. 2003) (quoting MELVILLE B. NIMMER, ET AL, 4 NIMMER ON COPYRIGHT § 13.03[A][1]
(2003)).
        25
             See Hobbs v. John, 722 F.3d 1089, 1093 n.4 (7th Cir. 2013).

                                                  17
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       The "unique combination" cases out of the Second Circuit are particularly helpful to

understanding how these two analyses can and should work together. One of the first such cases

was Knitwaves, Inc. v. Lollytogs Ltd. (Inc.), 71 F.3d 996, 1004 (2nd Cir. 1995), in which the

defendant had made almost exact copies of the plaintiff's fall-theme sweaters. The defendant

argued that the copying was not actionable because the elements copied were not protectable –

e.g., fall colors, images of squirrels and fall leaves. The Knitwaves court rejected this argument,

finding it inconsistent with the Supreme Court's decision in Feist.26 71 F.3d at 1003. In Feist,

the Supreme Court found that the plaintiff's telephone directory failed to meet the originality

requirement because the "selection, coordination, and arrangement" of the content (which itself

consisted of unprotectable facts) was "devoid of even the slightest trace of creativity." 499 U.S.

at 362. However, the Feist court's analysis makes clear that a combination comprised entirely of

unprotectable elements — even the white pages — can be subject to copyright provided the

author's "selection, coordination, and arrangement" of the elements are sufficiently creative and

original. Id. ("The question that remains is whether [the plaintiff] selected, coordinated, or

arranged these uncopyrightable facts in an original way."). As the Knitwaves court explained:

"What is protectible then is 'the author's original contributions,' — the original way in which the

author has 'selected, coordinated, and arranged' the elements of his or her work." 71 F.3d at

1004 (quoting Feist, 499 U.S. at 358). Therefore, the "more discerning" test (i.e, the "filter"

analysis) does not require that the court "dissect [constituent elements] into their separate

components, and compare only those elements which are in themselves copyrightable." Id. at

1003 (emphasis).



       26
            499 U.S. 340, 362 (1991).

                                                 18
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       What role is left then for the "more discerning" or "filter" test? The court in Mena v.

Fox Entertainment Group, Inc.27 does an excellent job explaining the way the two tests should

work together. There, the plaintiff argued that the court "should not engage in the filtration

process that the discerning observer test seems to require and instead should be principally

guided by comparing the contested work's 'total concept and overall feel' with that of the

allegedly infringing work." 2012 WL 4741389 at *4 (quoting plaintiff's brief, internal quotation

marks omitted). The defendant, on the other hand, urged the court to "confine its focus

narrowly to the individual protectible elements of [the plaintiff's] work, ignoring those aspects of

[his] work that are unprotectible in making the comparison." Id. (quoting defendant's brief,

internal quotation marks omitted). As the Mena court, explained, "[n]either...position accurately

describes the state of the law." Id.

       While a court's analysis should begin with the "more discerning" test, by filtering out

similarity based solely on unprotectable elements, the court should remain mindful that this

"runs the risk of overlooking wholesale usurpation of [the] author's expression." Id. at *5

(quoting Hoehling, 618 F.2d at 979–80). Thus, a "dissected" filtered analysis is not

"independently sufficient." Id. To determine if the author has created a unique combination of

unprotectable elements, the court should also perform the "total concept and feel" analysis. Id.

To guard against this latter analysis becoming "carte blanche to rest findings of infringement on

vague or amorphous determinations," the court should "take[] care to identify precisely the

particular aesthetic decisions—original to the plaintiff and copied by the defendant—that might

be thought to make the designs similar in the aggregate." Id. at *6 (quoting Tufenkian, 338 F.3d




       27
            2012 WL 4741389 (S.D.N.Y. 2012).

                                                19
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at 134). In this way, the court can ensure that a finding of substantial similarity in such cases is

based not on any similarity between the unprotectable elements themselves, but on a copying of

the author's unique selection and arrangement of those elements, which is creative and original.28

       For the most part, the cases bear this out. Indeed, in nearly all the "unique combination"

cases the reader can sense a strong conviction that the plaintiff's creative work was flagrantly

pirated.29 In Roth Greeting Cards — the source of the "total concept and feel" test — the

defendant was shown to have a practice of acquiring the plaintiff's greeting cards at retail and

gift shows, making minor changes, and then selling the copies under its own label. 429 F.2d at

1110-11. The messages in the cards were unprotectable short phrases. But the Ninth Circuit

held that the "proper analysis of the problem requires that all elements of each card, including

text, arrangement of text, art work, and association between art work and text, be considered as a

whole." " Id. at 1109. Doing so, the court found the similarity between the cards to be

"remarkable." Id. at 1110. For example, one Roth card had on its front "a colored drawing of a

cute moppet suppressing a smile and, on the inside, the words 'I wuv you.' " Id. The defendant's

corresponding card was "identical," except for "minor variations in color and style." Id. A Roth

card with "I miss you already" on the front, depicted a forlorn, weeping boy with an inside

message reading "And You Haven't even Left." Id. The defendant's copy was identical, simply

changing the drawing of the weeping boy to a drawing of a "forlorn and weeping man." Id.


       28
          On the point that it is the unique arrangement or combination that the subject of the
copyright in such cases, see Hobbs, 722 F.3d at 1093 n.4, and cases cited therein.
       29
            See, e.g., Jarvis v. A & M Records, 827 F. Supp. 282, 292 (D.N.J. 1993) (although the
individual words and phrases "Ooh" "Move" and "Free Your Body" were not protectable, in this
case "the precise relationship of the phrases vis a vis each other was copied. There is no question
that the combined phrase 'ooh ooh ooh ooh ... move ... free your body' is an expression of an idea
that was copyrightable....Again, the fact that defendants appropriated the exact arrangement of
plaintiff's composition says more than what can be captured in abstract legal analysis.").

                                                 20
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       Likewise, in Knitwaves (the case of the fall sweaters), the defendant's sweaters not only

"feature[d] the same two fall symbols...leaves and squirrels" that the plaintiff used, they also (1)

rendered the squirrel and leaf in a substantially similar way, (2) "employed them in virtually the

same manner...as felt appliques stitched to the sweaters' surface," (3) placed them "on strikingly

similar backgrounds ('shadow-striped' for the Leaf Sweater, and four-paneled for the Squirrel

Cardigan);" and (4) used "virtually the same color scheme." 71 F.3d at 1004. Indeed, on the

leaf sweater, the defendant even copied the plaintiff's "unusual manner of stitching the leaves to

the sweater," with the leaves stitched not "around their edges but rather along the veins of the

leaves, leaving the edges unattached." Id. at n.4.    The backgrounds were so similar, the court

found that the defendant's background had been obviously "lifted entirely" from the plaintiff's

work.30 In short, the similarity was "overwhelming." Id. at 1005. The defendant had not

simply copied unprotectable constituent elements from the plaintiff's work, as the defendant

contended; it had copied wholesale the plaintiff's unique selection and arrangements of those

elements.31




       30
           71 F.3d at 1005 n.5 ("The stripes on Knitwaves' Leaf Sweater, in particular, were lifted
entirely by Lollytogs, with only subtle changes; their color scheme remains the same on both
sweaters—red, orange, olive, purple, yellow, green, orange, red, from top to bottom, separated
by thin, black and brown 'shadow stripes.' The color scheme of Knitwaves' Squirrel Cardigan
has likewise been lifted: progressing clockwise from the upper left, the quadrants are yellow,
red, orange, and purple; they are divided by a green band which also rings the neck and waist of
the sweater.").
       31
            71 F.3d at 1004 (The plaintiff's "original contribution" did not consist "merely—as
Lollytogs would have it—in arranging leaves or squirrels in a specific pattern, but in (1)
selecting leaves and squirrels as its dominant design elements; (2) coordinating these design
elements with a 'fall' palette of colors and with a 'shadow-striped' (for the Leaf Sweater) or a
four-paneled (for the Squirrel Cardigan) background; and (3) arranging all the design elements
and colors into an original pattern for each sweater.").

                                                 21
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                e.      The Fifth Circuit Jurisprudence:

         The district court in Positive Black Talk, after analyzing the state of the law, stated that

it would "be forced to basically take a shot in the dark as to the law to be applied." 2003 WL

1921999 (E.D. La. 1999). Although the Fifth Circuit's subsequent opinion in that case provided

some guidance,32 it is still difficult to articulate with certainty how the Fifth Circuit would

analyze substantial similarity in a music copyright case. Part of the reason for this is that the

court in Positive Black Talk adhered tightly to a plain error analysis, the plaintiff having failed to

object to specific jury instructions. 394 F.3d at 368-69. Thus, the court limited itself to

discerning whether the district court had made an "obviously incorrect statement of law" and

largely refrained from making affirmative pronouncements as to the standard the court would

have applied de novo.

       One thing that can be said with certainty is that the Fifth Circuit has traditionally applied

the "layman" or "ordinary listener" test, which was articulated in Creations Unlimited: "To

determine whether an instance of copying is legally actionable, a side-by-side comparison must

be made between the original and the copy to determine whether a layman would view the two

works as 'substantially similar.' " Creations Unlimited, Inc. v. McCain, 112 F.3d 814, 816 (5th

Cir. 1997). This formulation was tacitly approved in Positive Black Talk, and both sides here

agree that this is the basic applicable standard for determining substantial similarity.

       It also seems fairly clear that the Fifth Circuit would endorse the threshold use of a

"filter" to exclude unprotectable elements from the substantial similarity analysis. The Circuit




       32
            Positive Black Talk, 394 F.3d 357 (5th Cir. 2004).

                                                  22
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did so expressly in Kepner-Tregoe,33 stating: "To determine the scope of copyright protection in

a close case, a court may have to filter out ideas, processes, facts, idea/expression mergers, and

other unprotectable elements of plaintiff's copyrighted materials to ascertain whether the

defendant infringed protectable elements of those materials." 12 F.3d at 533-34. The court

stated further that if the defendant had copied only "unprotectable elements" of the plaintiff's

work, it would be required to "reverse the district court's judgment" finding infringement. Id. at

533.

        Although Kepner-Tregoe did not deal with music or any other artistic expression, the

opinion contains nothing to suggest that the filtering of unprotectable elements should not be

done in such cases. At least two other Sections of this Court have utilized a "filter" analysis in

determining substantial similarity in a music copyright case. See Positive Black Talk, Inc. v.

Cash Money Records, 2003 WL 1921999 *2 (E.D. La. 2003) ("[D]etermination as to

infringement of a copyright—the issue in this case—involves identification and isolation of the

work's unprotectible elements... . Such identification is necessary because a finding of

infringement cannot be premised solely upon copying of non-protectible elements of a musical

composition."); Landry v. Atlantic Recording Corp., 2007 WL 4302074 *4 (E.D. La. 2007)

("Where there are both protectible and unprotectible elements of a work, the court must "attempt

to extract the unprotectible elements from ... consideration and ask whether the protectible

elements standing alone are substantially similar.") (quoting Knitwaves, Inc. v. Lollytogs Ltd., 71

F.3d 996, 1002 (2nd Cir.1995)). Of course, Kepner-Tregoe must be read in light of the Supreme

Court's opinion in Feist.




        33
             Kepner-Tregoe, Inc. v. Leadership Software, Inc., 12 F.3d 527 (5th Cir. 1994).

                                                  23
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                       f.        The Approach Employed Herein:

       In light of the foregoing, the substantial similarity inquiry employed herein shall be two-

fold: a dissection and "filtering" of unprotectable constituent elements, as prescribed in Kepner-

Tregoe,34 followed by a side-by-side comparison using the "layperson" standard articulated in

Creations Unlimited.35 Given the plaintiff's allegation that the Defendants have infringed

particular constituent elements of his songs (e.g., melody, hook, lyrics), it also seems clear that a

side-by-side comparison of these individual elements is appropriate. In Positive Black Talk, the

plaintiff argued that the district court erred in its jury instructions by suggesting that the jury was

required "to compare the two works as a whole" to determine whether there was "overall

similarity" between the songs. 394 F.3d at 373-74 (emphasis added). The court found that by

instructing the jury to compare the expressions in the two works "that are shared," the district

court had "correctly indicate[d] that the jury should compare the parts of the two songs that are

similar in determining substantial similarity." Id. at 374 (emphasis added). Thus, a finding of

substantial similarity may be based on a similarity between constituent elements, even where the

songs "as a whole" are overall dissimilar. Upon a finding of such similarity between constituent

elements, the importance of the similar element(s) would then be assessed both quantitatively

and qualitatively to determine whether the similarity qualifies as "substantial" and, thus, is

actionable. Id. at 373 & n.12.

       What is less clear is the extent to which the Ninth Circuit's "total concept and feel"

analysis should play a role in this Court's analysis. The district court in Positive Black Talk used




       34
            12 F.3d at 533-34.
       35
            112 F.3d at 816

                                                  24
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the Ninth Circuit's "extrinsic/intrinsic" test,36 and even instructed the jury that the test was

whether the intended audience would find the "total concept and feel" of the two songs to be

substantially similar. 394 F.3d at 373. On review, the Fifth Circuit found no plain error in the

jury instruction and stated that the "test articulated in Creations Unlimited is similar to the Ninth

Circuit's intrinsic test, which...asks whether the ordinary reasonable person would find the total

concept and feel of the works to be substantially similar." 394 F.3d at 374 n.13 (emphasis

added) (quotations omitted). This of course raises the "unique combination" question.

       The question is more than academic in this case, for as to several songs the plaintiff's

allegations of infringement are based: (1) on similarity as to a single element (e.g., beat), which

the Court has found to be unprotectable, (2) on similarity between multiple elements, all of

which the Court has found to be unprotectable, or (3) on similarity between multiple elements,

certain of which are protected and certain of which are unprotectable. Where the alleged

infringement is based solely on the alleged copying of a single unprotectable element, it seems

clear that a finding of substantial similarity would be directly contrary to the Fifth Circuit's

holding in Kepner-Tregoe. See 12 F.3d at 533 (a conclusion that the defendant "only copied

unprotectable elements" of the plaintiff's work would mandate reversal of district court's

judgment finding infringement).37 Thus, where the plaintiff has claimed infringement of a

particular song based solely on the copying of a single unprotectable element, the Court has



       36
            See 2003 WL 1921999 at *3.
       37
          While there is some scant suggestion in the case law that a particularly novel rendition
of an unprotectable element might itself be protectable, see Bucklew v. Hawkins, Ash, Baptie &
Co., 329 F.3d 923, 929 (7th Cir.2003) ("[I]t is the combination of [unprotectable] elements, or
particular novel twists given to them, that supply the minimal originality required for copyright
protection.") (emphasis added), there is no basis in the record to find that any of the plaintiff's
works fall into this category.

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found the claim to be non-actionable as a threshold matter. In all other cases, including claims

based upon alleged similarity as to two unprotectable elements, the Court has performed a side-

by-side comparison of the allegedly infringed and infringing songs.

       Where the individual elements are themselves protectable, the Court has evaluated the

songs both (1) for similarity between the elements alleged in the complaint to be similar (as

described in Positive Black Talk) and (2) for similarity as to a combination of elements and/or as

to the work as a whole, including assessing whether particular parts of the songs might be similar

due a combination of elements, even though the works taken as a whole are dissimilar. Where

one or more of the alleged elements is unprotectable, the Court has considered the unprotectable

element(s) only in evaluating the works for similarity as to a combination of elements and/or as

to the work as a whole and only to the extent that such element(s) contribute to an overall unique

"selection, coordination, and arrangement" of elements that might itself be original.38

       In short, the Court has evaluated the song pairs under every possible analysis set forth

above. With the exception of three claims, the Court was unable to find substantial similarity

utilizing any test. These three exceptions are: (1) "Move That Body" (allegedly infringed by

Nelly's "Move That Body"); (2) "I Like Your Way" (allegedly infringed by T-Pain's "Put It

Down"); and (3) "Blues Man" (allegedly infringed by T-Pain's "Reggae Night"). As to "Move

That Body" (versus Nelly's "Move That Body") and "I Like Your Way" (versus T-Pain's "Put It

Down"), the Court's conclusion is that a reasonable juror could find substantial similarity under



       38
           See Swirsky v. Carey, 376 F.3d 841, 848 (9th Cir. 2004); Three Boys Music Corp. v.
Bolton, 212 F.3d 477, 485 (9th Cir. 2000) (upholding finding of substantial similarity based on
"unique compilation" of five unprotectible elements shared between the two songs: (1) title
"hook" phrase (including the lyric, rhythm, and pitch); (2) shifted cadence; (3) instrumental
figures; (4) verse/chorus relationship; and (5) fade ending).

                                                26
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any of the tests above. The only claim for which the tests produce an inconsistent finding is that

of "Blues Man" (allegedly infringed by T-Pain's "Reggae Night"). As will be explained below,

the "total concept and feel" of "Blues Man" and "Reggae Night" are not at all similar. However,

a reasonable juror might be able to find a substantial similarity under a "dissection" approach.

Thus, given the implication in Positive Black Talk that substantial similarity necessitates only

that parts of a work be similar (provided the similar parts are sufficiently qualitatively and/or

quantitatively important), the Court will nonetheless deny summary judgment at this juncture as

to the "Blues Man" claim, as well.

        To summarize, with the exception of claims based solely on a single unprotectable

element (which the Court has found to be non-actionable as a threshold matter), the Court has

conducted a side-by-side listening comparison of each of the plaintiff's songs and the song that

allegedly infringes it. In doing so, the Court compared each pair of songs (the allegedly

infringed song vs. the allegedly infringing song) by assessing both (1) whether there is similarity

between any protectable element allegedly infringed and the element of the Defendant's song

that allegedly infringed it; and (2) whether there is any similarity between the "total concept and

feel" of the plaintiff's song (or part thereof) and the "total concept and feel" of the allegedly

infringing song, including any similarity that might be enhanced or derived from an

unprotectable element. These approaches produced identical results except as to "Blues Man"

(allegedly infringed by T-Pain's "Reggae Night"), which discrepancy the Court resolved in the

plaintiff's favor.




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III.    ANALYSIS:

        The Court will address first the "filter" analysis wherein the Court determined certain

constituent elements to be unprotectable and found to be non-actionable those alleged

infringements which were based solely on alleged similarity in a single unprotectable element.

Thereafter, the Court will explain the side-by-side comparison of the songs that remained.

        A.     Filter Analysis:

        In his complaint, as to each of his 45 songs, the plaintiff specifies the constituent musical

elements within the song that he claims have been infringed by one or more of the Defendants'

songs. These musical elements include beat, lyrics, chords, melody, chant, "hook," horns, and

"gliss." Both melody and hook39 are protected in all circumstances herein. Beat, chords, chant,

horns, and "gliss," as used in the plaintiff's works, are not protectable, as discussed below.

Lyrics generally are protected, but not those at issue here.

               1.      Lyrics: Unprotectable Words and Short Phrases

        Lyrics are protected by copyright as a "literary work" — an expression "in words." See

17 U.S.C. § 101. However, single "[w]ords and short phrases such as names, titles, and

slogans," are not protected. 37 C.F.R. § 202.1(a). In addition, common expressions and phrases

are not entitled to protection for they do not satisfy the originality requirement. See, e.g.,

Emanation Inc. v. Zomba Recording Inc., 72 Fed. App'x 187, 190 (5th Cir. 2003) (finding that




        39
            "Hook" is "the qualitatively most important part" of a song, Positive Black Talk, 394
F.3d at 374, the part that is most "memorable" or catchy. Landry, 2007 WL 4302074 at *1. It is
sometimes equated with "refrain" or "chorus," being often found there in popular music. See,
e.g., Armour v. Knowles, 512 F.3d 147, 151 (5th Cir. 2007); Peters v. West, 692 F.3d 629, 631
(7th Cir. 2012).

                                                 28
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common Cajun phrases 'We Gon Pass a Good Time, Yeah, Cher" and "You Gotta Suck Da Head

of Dem Der Crawfish" do not satisfy the originality requirement"); Johnson v. Gordon, 409 F.3d

12, 23-24 (1st Cir. 2005) (lyric "You're the one for me" found to be "too trite to warrant copyright

protection"); Prunte v. Universal Music Group, Inc., 699 F. Supp. 2d 15, 26 (D.D.C. 2010) (use

of short phrase "so high" and use of touching the sky as a metaphor for being high found to be

too clichéd to support a finding of actionable copyright infringement); Jean v. Bug Music Inc.,

2002 WL 287786 *6 (S.D.N.Y. 2002) ("[A] reasonable jury could only conclude that the lyrical

excerpt 'clap your hands' is not afforded copyright protection because the excerpt is a common

phrase.").

        The plaintiff does not specify in his complaint which lyrics he contends are infringed or

the lyrics of the Defendant's songs that are infringing. In opposition to the instant motion, the

plaintiff submitted the report of Archie K. Milton, which contains cryptic references to lyrics,

most of which do not even specify the song from which they are extracted. The defendant's

expert, Lawrence Ferrara, Ph.D., is more helpful, as Dr. Ferrara extracted any lyrics from the

allegedly infringed and infringing songs that were even arguably similar. The chart below

compares the Defendant's lyrics for which there can be found even a remote similarity to the

plaintiff's lyrics.




   Defendant's        Plaintiff's                                    Lyrics
      Song              Song
                                    Complaint: Specifies no similar lyrics.
     "Freeze"         "Freeze"
                                    Π's Expert: "Now Freeze" in both songs.
    by T-Pain
                                    Δ's Expert: T-Pain's song uses only the word "Freeze" without "Now."
                                    [To the Court's ear, T-Pain's song does include the word "Now."]


                                                    29
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                                 Complaint: Specifies no similar lyrics.
"Freeze" by T-     "Dancin'
                                 Π's Expert: "Dancin' Shoes" in both songs.
     Pain           Shoes"
                                 Δ's Expert: "Girl I want to battle, meet me downstairs...Bring your dancin'
                                 shoes and something to tie your hair" vs. "Get ready, I've got my dancin'
                                 shoes on"

                                 Complaint: Specifies no similar lyrics.
 "All I Do Is    "Sportsman's
    Win"           Paradise"     Π's Expert: "Win win win no matter what" vs. "Win win win at all cost"
by DJ Khaled                     Δ's Expert: "All I Do is win win win no matter what" vs. "Win, win, win
                                 at all cost"

                                 Complaint: Specifies no similar lyrics.
 "All I Do Is     "Move That
    Win"            Body"        Π's Expert: (1) "Got money on my mind and I can never get enough" vs.
                                 "Got music on my brain and I can't get enough;" (2) "And every time I
by DJ Khaled
                                 step into the building" vs. "And every time I step into the house;" (3)
                                 "Everybody hands go up" vs. "Everybody come along;" (4) "And they
                                 stay there" vs. "And let it go"

                                 Δ's Expert: (1) "Floss 'em up; toss 'em up; hard away; boss 'em up; pardon
                                 me; I'm bossin' up; pressure up..." vs. "Fire it up; give it up; blow it up;
                                 suck it up; pump it up; wind it up; buck it up;" (2) "And if you're goin' n'
                                 put your hands in the air; make 'em stay there" vs. "Raise your hand in the
                                 air; jump up and down like you just don't care."

                                 Complaint: Specifies no similar lyrics.
"Overtime" by     "Overtime"
                                 Π's Expert: Word "overtime" in both songs.
  Ace Hood
                                 Δ's Expert: "It's do or die; Gotta put it overtime; 'Cause it's now or never;
                                 I'm gonna put it on the line; I gotta win so I'm gon grind; Put it overtime,
                                 overtime,...(overtime); 'Cause I got money on my mind; give me every
                                 penny, every dime ...." vs. "...Overtime, over you; It's all right, day and
                                 night; 'Cause when I get through I'll be loving you"

                                 Complaint: Specifies no similar lyrics.
 "Blame It"       "Do It Right
                                 Π's Expert: "The time has come to make it happen is the lyric." [sic]
   by               Now"
 Jamie Foxx                      Δ's Expert: Finds no similar lyrics.

                                 Complaint: Specifies no similar lyrics.
"I'm Sprung"     "Drowning In
                                 Π's Expert: Mentions no similar lyrics.
  by T-Pain       My Blues"
                                 Δ's Expert: Finds no similar lyrics.

                   "Dancin'      Complaint: Specifies no similar lyrics.
   "Low"            Shoes"
                                 Π's Expert: Mentions no similar lyrics.

                                 Δ's Expert: Finds no similar lyrics.



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   "What's         "Can't Get      Complaint: Specifies no similar lyrics.
   Wrong" by       You Off My
                                   Π's Expert: Mentions no similar lyrics.
   Jennifer          Mind"
   Hudson                          Δ's Expert: Finds no similar lyrics.

                                   Complaint: Specifies no similar lyrics.
   "Good Life"
                                   Π's Expert: Both reference popular cities.
    by Kayne        "Spice"
      West                         Δ's Expert: "It feel like Atlanta; It feel like LA; It feel like Miami; It feel
                                   like NY" vs. "LA is the spice of life; New York is the Spice of Life."



Having analyzed these, as well as conducting its own scrutiny of the songs purportedly

containing infringed or infringing lyrics, the Court concludes that none the allegedly infringed

lyrics is entitled to copyright protection. As can be seen from the chart, most of the allegedly

infringed lyrics amount to one word or a very short phrase (e.g., "Now freeze," "Overtime,"

"Dancin' shoes," "LA," "New York").40 These are not entitled to protection. See 37 C.F.R. §

202.1(a). Even those that consist of more than two words (e.g. "I can't get enough," "Win, win,

win, at all cost," "raise your hands in the air")41 are common, everyday expressions, which do not

satisfy the originality requirement.42   Moreover, many of the allegedly infringing lyrics



       40
          The dance directive "Now Freeze" is not original to the plaintiff's song, allegedly
authored in 1982 (Rec. Doc. 1 at ¶ 47). See, e.g., HARVEY SCALES & THE 7 SOUNDS, GET DOWN
(Magic Touch Records 1967); cf. THE J. GEILS BAND, FREEZE FRAME (EMI 1981).
       41
            The hip-hop call-and-response directive to raise or put one's hands in the air dates
from the 1970s and is not original to the plaintiff's song, allegedly authored in 1999. See, e.g.,
THE SUGARHILL GANG, RAPPER'S DELIGHT (Sugar Hill Studios 1979) ("Just throw your hands up
in the air and party hardy like you just don't care.").
       42
            The Court excludes from this holding "Move That Body" by Nelly as compared with
plaintiff's "Move That Body." As to these lyrics, the Court makes no finding at this juncture as
to whether the originality requirements are met. Because the Court has determined that a
reasonable juror could find substantial similarity between these two songs and elements thereof,
the Court finds it appropriate to deny summary judgment as to all claims related to the alleged
infringement of plaintiff's "Move That Body" by Nelly's "Move That Body." Although the
plaintiff has alleged similarity of lyrics as to "Move That Body," it is not included on the chart

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referenced by Mr. Milton bear no similarity to the plaintiff's lyrics. Compare, e.g., "All I Do Is

Win" with "Sportsman's Paradise."

         Five of the claimed infringements are based on allege similarity as to lyrics only. These

are: (1) "Overtime" by Ace Hood vs. plaintiff's "Overtime;" (2) "All I do Is Win" by DJ Khaled

vs. plaintiff's "Move That Body;" (3) "All I do Is Win" by DJ Khaled vs. plaintiff's "Sportsman's

Paradise;" (4) "Good Life" by Kanye West vs. plaintiff's "Spice;" and (5) "Freeze" by T-Pain vs.

plaintiff's "Dancing Shoes." These are dismissed as part of the "filtering" analysis, for the

alleged similarity is based solely on a single unprotectable element. Where the plaintiff has

alleged similarity as to lyrics in addition to other elements, the Court has included lyrics as part

of the side-by-side comparison discussed below, to determine whether the lyrics, while

unprotectable themselves, might contribute to an overall impression of similarity.



         2.     Scènes à Faire: Unoriginal "Chords" and "Beat"

         The Plaintiff has alleged that the defendants have infringed the "chords" and "beat" in

dozens of his songs. However, the basic harmonic and rhythmic building blocks of music,

especially popular music, have long been treated by courts as well-worn, unoriginal elements

that are not entitled to copyright protection. Moreover, the basic beats and chord progressions

used in the plaintiff's songs are customary throughout the funk and R & B genres, making them

unprotectable scènes à faire, as explained below.




above.

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       As recognized long ago in Northern Music Corp. v. King Record Distributing Co.,43

harmony "is achieved according to rules which have been known for many years." 105 F. Supp.

at 400. "Being in the public domain for so long," it will rarely, if ever be "itself...the subject of

copyright." Id. Not surprisingly, courts have been consistent in holding that the basic chord

progressions so ubiquitous in popular music are unoriginal and, thus, unprotectable. See, e.g.,

Johnson v. Gordon, 409 F.3d 12, 23 (1st Cir. 2005) (finding III, II chord progression to be a

"stereotypical building block of music composition" and thus "unprotectable"); Tisi v. Patrick,

97 F. Supp. 2d 539, 544 (S.D.N.Y. 2000) (basic chord progression found to be "so common to

rock and pop genres (indeed, to every type of Western music)" that it did not support finding of

infringement); McRae v. Smith, 968 F. Supp. 559, 566-67 (D. Colo. 1997) (finding "chord

progression and rhythmic feel" to be "used in thousands of other songs" and thus "non

protectable"); Jarvis v. A & M Records, 827 F. Supp. 282, 291 (D.N.J. 1993) ("Easily arrived at

phrases and chord progressions are usually non copyrightable..."); Intersong-USA v. CBS, Inc.,

757 F. Supp. 274, 282 (S.D.N.Y. 1991) (harmonic progression found to be unprotectable scènes

à faire); cf. Swirsky v. Carey, 376 F.3d 841, 848 (9th Cir. 2004) (finding that "although chord

progressions may not be individually protected," they could combine with rhythm and pitch to

support a finding of infringement). While it is theoretically possible that a common chord

progression could be "exploited in an original (and thus, protectable) manner,"44 it would be a

rare occurrence. Certainly, there is nothing in this record to suggest that the plaintiff exploited

chord progressions in an original way not customary to the genre.




       43
            105 F. Supp. 393 (S.D.N.Y 1952).
       44
            Gordon, 409 F.3d at 23.

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       As with chord progressions, there are only a limited number of tempos, and "these appear

to have been long since exhausted." Northern Music, 105 F. Supp. at 400. Thus, "originality of

rhythm is a rarity, if not an impossibility." Id. Accordingly, as with chords, courts have been

consistent in finding rhythm to be unprotectable. See, e.g., Currin v. Arista Record, Inc. 724 F.

Supp. 2d 286, 294 (D. Conn. 2010) (basic 4/4 rhythm is "commonplace"); Velez v. Sony Discos,

2007 WL 120686 *12 (S.D.N.Y. 2007) (finding "common time rhythm" used in both songs to be

unprotectable scènes à faire); Tisi, 97 F. Supp. 2d at 544 (guitar rhythm and "basic percussion

rhythm" found to be "extremely common in the pop rock genre"); McRae, 968 F. Supp. at 566

(two-step rhythm found to be "similar to many other country songs" and thus "non protectable");

Intersong, 757 F. Supp. at 282 ("recurring eighth note rhythm" found to be unprotectable scènes

à faire). While it is possible that rhythm might be expressed in an original and innovative way,

there is nothing in this record to suggest that the plaintiff's use of rhythm is anything but

customary to the genre. Thus, like chords, it is an unprotectable element.

       Twenty-two (22) of the claimed infringements are based upon alleged similarity as to

"chords" alone:


                                      "Chords Only" Claims

             Artist               Defendant's Song                      Plaintiff's Song
 1    Ace Hood              Body 2 Body                     Runnin' Away
 2    Ace Hood              ErryThang                       Runnin' Away
 3    Akon                  69                              Can't Get You Out Of My Mind
 4    Akon                  Holla Holla                     It's All About The Family
 5    DJ Khaled             All I Do Is Win                 Louisiana
 6    DJ Khaled             No New Friends                  Can't Get You Out Of My Mind
 7    Jaime Foxx            Blame It                        Nothin' But The Funk
 8                                                          Spice
 9 Lonely Island            I ****ed My Aunt                Runnin' Away
 10 Rick Ross               Aston Martin Music              Romantic Sequence
 11 Rick Ross               B.M.F.                          Fur Elise

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 12   Rick Ross           The Boss                      Ring Me
 13   Tay Dizm            Beam Me Up                    Party Down
 14   T-Pain              Can't Believe It              Slow and Easy
 15   T-Pain              Church                        Fur Elise
 16   T-Pain              Freeze                        Hooked On You
 17   T-Pain              I'm Sprung                    Can't Get You Out Of My Mind
 18   T-Pain              Put It Down                   Can't Get You Out Of My Mind
 19   T-Pain              Regular Girl                  Nothin' But The Funk
 20   T-Pain              Save You                      Can't Get You Out Of My Mind
 21   T-Pain              Show U How                    Still (Singing the Blues)
 22   T-Pain / Lil Wane   Bang Bang Pow Pow             It's All About The Family

       Twenty-nine (29) of the claimed infringements are based upon alleged similarity as to

"beat" alone:



                                     "Beat Only" Claims

              Artists               Song Title                   Plaintiff's Song
 1    Ace Hood            Overtime                   I Got The Rhythm On
 2    Ace Hood            Body 2 Body                Bam There You Have It
 3    Akon                69                         Drowning In My Blues
 4    Akon                Holla Holla                Drowning In My Blues
 5    DJ Khaled           All I Do Is Win            Ring Me
 6    DJ Khaled           I Wish You Would           Bam There You Have It
 7    DJ Khaled           No New Friends             Bam There You Have It
 8    DJ Khaled           Take It To The Head        Drowning In My Blues
 9    DJ Khaled           Welcome To My Hood         It's On (The Jam Is On)
 10   E40                 U and Dat                  Spice
 11   Jennifer Hudson     What's Wrong               I Like Your Way
 12   Kanye West          Good Life                  Hip Jazz
 13   Nelly               Move That Body             Love Fest
 14   Pitbull             Hey Baby                   Starlite
 15   Rick Ross           All The Money In The World Drowning In My Blues
 16   Rick Ross           Aston Martin Music         Bam There You Have It
 17   Rick Ross           B.M.F.                     My Bad
 18   Rick Ross           The Boss                   Drowning In My Blues
 19   T-Pain              5 O' Clock                 Drowning In My Blues
 20   T-Pain              Buy You A Drank            Drowning In My Blues
 21   T-Pain              Church                     Space Station
 22   T-Pain              Freeze                     Sportsman's Paradise
 23   T-Pain              Nuthin'                    Kids
 24   T-Pain              Rap Song                   Bam There You Have It

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 25   T-Pain            Reggae Night                        Bam There You Have It
 26   T-Pain            Regular Girl                        Runnin' Away
 27   T-Pain            Show U How                          Hooked On You
 28   T-Pain            Take Your Shirt Off                 Bam There You Have It
 29   T-Pain / Lil Wane Bang Bang Pow Pow                   Oh Carnival


All of these claims ("chords only" claims and "beat only" claims) are dismissed herein as part of

the Court's "filter" analysis, for the alleged similarity is based solely on a single unprotectable

element. Where the plaintiff has alleged similarity as to "chords" or "beat" in addition to

similarity as to other elements (including where "chord" and "beat" are the only two elements

alleged to be similar), the Court has included chord and beat as part of its side-by-side

comparison to determine whether they might contribute to holistic impression of similarity.

               3.      Other Basic Musical Elements Not Original to the Plaintiff

       The only alleged similarity between T-Pain's "Freeze" and the plaintiff's "When She

Smiles" is in the "gliss" (glissando).45 Likewise, one of the alleged similarities between Lonely

Island's "I ****ed My Aunt" and the plaintiff's "Goin See the Man" is in the use of "horns."

Both the use of horns and the use of glissando are common, centuries-old musical practices. See

Ferrara Reports (Rec. Doc. 58-4 at 58 of 191; Rec. Doc. 113-2 at 19 of 20). Obviously, neither

is original to the plaintiff. Nor are they used in an uncommon or original way. While either of

these devices might combine with other elements (e.g., melody) to establish infringement,

standing alone they cannot sustain a finding of substantial similarity. As gliss is the only

alleged similarity between T-Pain's "Freeze" and "When She Smiles," this claim is dismissed as

a threshold matter.



       45
          Glissando is the basic musical element of sliding up or down from one pitch to
another, as when a pianist slides her finger up the keys or a trombonist moves the slide while
continuing to blow.

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          Finally, in claiming infringement of "Sportman's Paradise" by Chris Brown's "Kiss,

Kiss," the sole similarity alleged is in "chant." As described by the defendant's expert, the

chants in these two songs feature a "shouted lyric that starts with an 'ah' on the second half of

beat 3 that swoops up, and is followed by an accented word on the next downbeat."46 Rec. Doc.

58-4 at 86. As Dr. Ferrara explains, this precise type of chant — "using the word 'Ah' that

swoops up, and then follows with an accented word on the next downbeat" — "dates back to at

least to the 1960's," as evidenced by at least three recorded instances of its usage that predate the

plaintiff's, which was authored in 1999.47 Id. at 86-87.48 Because the sole alleged similarity

between these songs is this unoriginal element, this claim, too, will be dismissed as a threshold

matter.

          B.       Side-by-Side Comparison:

          For all claimed infringements as to which the plaintiff alleged similarity as to melody,

hook, or a combination of elements, the Court performed a side-by-side comparison to determine

whether an ordinary reasonable listener would find the works (or parts thereof) to be

substantially similar. The Court listened for similarities in "dissected" elements and also for

similarity as to combinations of elements and in the works as a whole. Because of the sheer

number of claims and because the Court made every conceivable effort to give the plaintiff's

claims the benefit of the doubt, the process was a long and tedious one. Despite the care with



          46
           "The chant in 'Sportsman's Paradise' occurs at 0:39, 0:49, 2:25, 2:25, 3:51, and 4:01
(sounding like 'ah, got you' at 0:39, 'ah, groovin' ' at 0:49, 'ah, slam' at 2:15, 'ah, dust it'
at 2:25, 'ah, slam' at 3:51, and 'ah, zoom' at 4:01). The chant in 'Kiss Kiss' occurs at
2:02 (as "ah, hoo")." Rec. Doc. 58-4 at 86.
          47
               Rec. Doc. 1 at ¶ 55.
          48
          THE FOUR TOPS, REACH OUT I'LL BE THERE (Motown 1966); THE PRECISIONS, IF THIS
IS LOVE (I'D RATHER BE LONELY) (Drew-1003 1967); THE JACKSON 5, ABC (Motown 1970).

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which the Court undertook its task, in the overwhelming majority of claims, it found no

similarity at all. The chart below lists those claims as to which the Court was unable to find

even a slight similarity.




                        Side-by-Side Comparison – No Similarities Found

            Artists                 Song Title                   Plaintiff's Song        Claim
 1     Ace Hood             Overtime                     Sudden Death                   Melody
 2     Ace Hood             Cash Flow                    Blues Man                      Beat
 3                                                       Blues Man                      Hook
 4     Ace Hood             Can't Stop                   Sportsman's Paradise           Chords
 5                                                       Sportsman's Paradise           Beat
 6                                                       Sportsman's Paradise           Melody
 7     Ace Hood             Stressin'                    Romantic Sequence              Chords
 8                                                       Romantic Sequence              Beat
 9     Ace Hood             Top of the World             Louisiana                      Chords
 10                                                      Louisiana                      Beat
 11    Akon                 69                           Download My Love               Hook
 12    Akon                 Holla Holla                  My Bad                         Hook
 13    Baby Bash            Cyclone                      It's On (The Jam Is On)        Melody
 14                                                      It's On (The Jam Is On)        Beat
 15                                                      It's On (The Jam Is On)        Hook
 16    Chris Brown          Kiss Kiss                    It's On (The Jam Is On)        Beat
 17                                                      It's On (The Jam Is On)        Melody
 18    Ciara                Go Girl                      Space Station                  Chords
 19                                                      Space Station                  Beat
 20                                                      Space Station                  Melody
 21    DJ Khaled            All I Do Is Win              I Got the Rhythm On            Melody
 22                                                      Still (Singing the Blues)      Melody
 23    DJ Khaled            I'm So Hood                  It's On (The Jam Is On)        Beat
 24                                                      It's On (The Jam Is On)        Melody
 25    DJ Khaled            I Wish You Would             Still (Singing the Blues)      Chords
 26                                                      Still (Singing the Blues)      Hook
 27    DJ Khaled            No New Friends               It's All About the Family      Hook
 28    DJ Khaled            Out Here Grindin             Space Station                  Beat
 29                                                      Space Station                  Melody
 30                                                      Still (Singing the Blues)      Hook
 31    DJ Khaled            Take It to the Head          Never Leave You Baby           Chords
 32                                                      Never Leave You Baby           Hook

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33    DJ Khaled         We Taking Over'            Move That Body            Beat
34                                                 Move That Body            Hook
35                                                 Still (Singing the Blues) Melody
36    DJ Khaled         Welcome To My Hood         Ring Me                   Hook
37    E40               U and Dat                  It's On (The Jam Is On)   Melody
38    Flo-Rida          Low                        Dancin' Shoes             Chords
39                                                 Dancin' Shoes             Beat
40                                                 Dancin' Shoes             Lyrics
41                                                 Dancin' Shoes             Melody
42    Jaime Foxx        Blame It                   Do It Right Now           Melody
43                                                 Do It Right Now           Lyrics
44                                                 My Bad                    Melody
45                                                 Runnin' Away              Melody
46    Jennifer Hudson   What's Wrong               Can't Get You Off My Mind Melody
47                                                 Can't Get You Off My Mind Lyrics
48    Jesse McCartney   Body Language              Drowning in My Blues      Beat
49                                                 Drowning in My Blues      Melody
50    Kanye West        Good Life                  Can't Get You Off My Mind Chords
51                                                 Can't Get You Off My Mind Melody
52    Lil Kim           Download                   Can't Get You Off My Mind Chords
53                                                 Can't Get You Off My Mind Beat
54                                                 Can't Get You Off My Mind Melody
55                                                 Download My Love          Melody
56    Lil Mama          Shawty Get Loose           Space Station             Melody
57                                                 Space Station             Chords
58                                                 Space Station             Beat
59    Lonely Island     I ****ed My Aunt           Goin' See The Man         Beat
60                                                 Goin' See The Man         Horn
61    Pitbull           Hey Baby                   Love Horizon              Melody
62    Pitbull           Shake Seniora              Tropical Blue             Chords
63                                                 Tropical Blue             Beat
64                                                 I'll Be There             Melody
65    Rick Ross         All the Money in the World Never Leave You Baby      Chords
66                                                 Never Leave You Baby      Hook
67    Rick Ross         The Boss                   Still (Singing the Blues) Hook
68    Snoop Dog         Boom                       Bam There You Have It     Beat
69                                                 Bam There You Have It     Melody
70                                                 Sportsman's Paradise      Melody
71    Tay Dizm          Beam Me Up                 Starlite                  Beat
72                                                 Starlite                  Hook
73                                                 Starlite                  Melody

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74    T-Pain       5 O'Clock                Just You And I            Chords
75                                          Just You And I            Melody
76    T-Pain       Best Love Song           Overtime                  Chords
77                                          Overtime                  Beat
78                                          Do It Right Now           Melody
79    T-Pain       Booty Wurk               Space Station             Beat
80                                          Space Station             Melody
81    T-Pain       Buy You a Drank          I'll Be There             Chords
82                                          I'll Be There             Melody
83    T-Pain       Can't Believe It         Hooked On You             Melody
84                                          Hooked On You             Beat
85    T-Pain       Church                   Sportsman's Paradise      Hook
86    T-Pain       Freeze                   Freeze                    Melody
87                                          Freeze                    Lyrics
88                                          It's All About the Family Melody
89    T-Pain       Freaknik is Back         Fur Elise                 Chords
90                                          Fur Elise                 Beat
91    T-Pain       I'm Sprung               Drowning in My Blues      Beat
92                                          Drowning in My Blues      Lyrics
93    T-Pain       Karaoke                  Ring Me                   Chords
94                                          Ring Me                   Beat
95                                          Ring Me                   Melody
96    T-Pain       Nuthin'                  It's On (The Jam Is On)   Melody
97    T-Pain       Rap Song                 Runnin' Away              Chords
98                                          Runnin' Away              Melody
99    T-Pain       Reality Show             Hooked On You             Melody
100                                         Can't Get You Off My Mind Beat
101                                         Can't Get You Off My Mind Chords
102                                         It's All About the Family Melody
103   T-Pain       Regular Girl             My Bad                    Hook
104   T-Pain       Save You                 Runnin' Away              Melody
105                                         Runnin' Away              Beat
106   T-Pain       Sho-Time                 Can't Get You Off My Mind Beat
107                                         Can't Get You Off My Mind Melody
108   T-Pain       Show U How               Can't Get You Off My Mind Melody
109   T-Pain       Take Your Shirt Off      Move That Body            Melody
110   T-Pain       Turn All The Lights On   Starlite                  Melody
111                                         Starlite                  Beat
112                                         Starlite                  Hook
113   T-Pain       You Got Me               Can't Get You Off My Mind Melody
114                                         Can't Get You Off My Mind Beat


                                      40
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 115 T-Pain / Lil Wayne Bang Bang Pow Pow                  Nothin' But the Funk           Hook
 116 Travie McCoy       Billionaire                        Download My Love               Chords
 117                                                       Download My Love               Melody
 118                                                       Louisiana                      Melody
 119                                                       Reggae Music                   Beat
 120                                                       Reggae Music                   Chords
 121                                                       Still (Singing the Blues)      Melody
 122 Young Cash         Freeze                             Bam There You Have It          Chords
 123                                                       Bam There You Have It          Beat
 124                                                       Freeze                         Hook



       The most that can be said with respect to these claims in terms of similarity is that the

plaintiff's songs and the allegedly infringing songs can all be categorized as popular music and,

thus, share the same basic (usually danceable) beat ubiquitous in popular music and occasionally

share one of the basic chord progressions common to all popular music genres. That is where

the similarity ends. The "total concept and feel" of the plaintiff's songs are dramatically different

from the songs that allegedly infringe them. The Defendant's songs are rap and/or hip-hop.

The plaintiff's songs range from classic rhythm and blues, to disco, to the classic New Orleans

funk style that can be heard at venues throughout this city on any given evening. A few of the

plaintiff's songs have a popular jazz style reminiscent of that which was popular in the late 1960s

and early 1970s. Virtually everything about these song pairs is different: the genre, the

themes, the melodies, the harmonies, the lyrics, the vocals, and the instrumentation. Indeed, it is

difficult to overstate how different they sound to the lay ear. Moreover, this lay perception of

lack of similarity is supported by the detailed and methodical musicological analysis of the

defendant's expert, Dr. Ferrara. See Rec. Docs. 58-4, 113-2. No reasonable juror could find

substantial similarity as to any of these claims.


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       As to a small number of claims, the Court was able to detect some very slight similarity

in an element shared between the plaintiff's song and the allegedly infringing song. These pairs

are listed in the following chart:




                  Side-by-Side Comparison – Only Slight Similarities Found


   Δ's Song         at               Similar              Π's Song        at          Similar
                                     Element                                          Element
  Ace Hood        0:13     Low background                  "Sudden       0:00   Synthesizer melody
  "Overtime"               melody in                        Death"              in combination with
                           combination with                                     drumbeats
                           drumbeats
  Baby Bash       0:13     Scratching oscillating        "It's On (The   0:12   Background guitar
   "Cyclone"               synthesizer motif              Jam Is On)"           melody
  Lil Mama        0:03     Beeping (whistle-               "Space        0:16   Melodic synthesizer
 "Shawty Get               like) "hook"in the              Station"             "hook"
    Loose"                 background
 Snoop Dog        0:00     Beeping high-pitch            "Sportsman's    0:20   Piano-like
   "Boom"                  melodic synthesizer             Paradise"            synthesizer
                           "hook"                                               background melody
   T-Pain         0:13     High-pitch bell-like          "Hooked On      0:17   High-pitch
    "Can't                 synthesizer tones                You"                synthesizer melody
  Believe It"
    T-Pain        0:12     Repeating fast guitar         "Sportsman's    0:20   Guitar background
   "Church"                                                Paradise"
   T-Pain         0:03     Scratching                      "Freeze"      0:05   Background guitar
   "Freeze"                synthesizer melody                                   melody
                  0:08     Scratching                      "It's All     0:06   Synthesizer
        "                  synthesizer melody             About The             background
                                                           Family"              harmonies



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   T-Pain         0:13    Jingling piano-tone           "Runnin'     0:00    Synthesizer melody
  "Rap Song"              sequence                       Away"
    T-Pain        0:07    Short piano melody           "Hooked On    0:17    Wind instrument's
    "Reality                                              You"               melody
     Show"
                  0:02    Jingling element of           "Can't Get   0:00    Low-pitch electronic
       "                  the "hook"                   You Off My            melody
                                                          Mind"
    T-Pain        0:03    Guitar element of the         "It's All    0:00    Element of the
    "Reality              "hook"                       About The             synthesizer "hook"
     Show"                                              Family"
   T-Pain         0:20    Synthesizer low-              "Runnin'     0:00    Synthesizer (or key-
  "Save You"              pitch sounds                   Away"               board) melody
   T-Pain         0:01    Bell-like high-pitch          "Can't Get   0:14    Guitar background
  "Sho-Time"              melody                       You Off My            melody
                                                          Mind"
   T-Pain         0:01    Low scratching                "Starlite"   0:10    Low pulsing
  "Turn All               electronic "hook"                                  synthesizer
  The Lights                                                                 background
     On"


       Using a "dissection" analysis and relying heavily on the export reports, the Court was

able to hear faint similarities in certain of the specific elements (melody or hook) alleged to be

similar with respect to these claims. On closer listening, however, the melodies and hooks in

question prove to be quite different. Thus, the similarity is very slight — certainly not

substantial, even when the somewhat similar element is isolated.49 Under a "total concept and

feel" analysis, these songs are scarcely more similar than those discussed above, wherein the



       49
           By "isolated" the Court simply means that the Court attempted to focus on the element
alleged to be similar rather than the more prominent features overlaying and obscuring it. No
additional or enhanced technology was used.

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Court found no similarity at all. No layperson would find them to be even remotely alike.

Moreover, the similarities are based on features (e.g., a jingling or pulsing synthesizer element)

that are common in nearly all pop genres. These findings are bolstered by Dr. Ferrara's

methodical analysis. See Rec. Docs. 58-4, 113-2.

       Thus, as to all of the claims in these two charts, the Court finds that no reasonable juror

could find substantial similarity — as to the constituent elements stated in the complaint, as to

any combination of those elements, as to the songs taken as a whole, or as to any part(s) thereof.

As to these claims, the Defendants are entitled to judgment as a matter of law.

       This leaves three pairs of songs remaining: (1) "Move That Body" (allegedly infringed

by Nelly's "Move That Body"); (2) "I Like Your Way" (allegedly infringed by T-Pain's "Put It

Down"); and (3) "Blues Man" (allegedly infringed by T-Pain's "Reggae Night"). As to "Move

That Body" (versus Nelly's "Move That Body") and "I Like Your Way" (versus T-Pain's "Put It

Down"), the Court's conclusion is that a reasonable juror could find substantial similarity under

any of the various approaches discussed above.

       Dr. Ferrara concluded that the similarity between Nelly's "Move That Body" and the

plaintiff's "Move That Body" is limited to the use of the same title phrase "Move That Body,"

which is repeated in the hook lyrics of both songs. See Rec. Doc. 58-4 at 24-26. Dr. Ferrara

found the melodies to be very different. Id. at 25. However, Dr. Ferrara's scoring of the two

melodies compares the vocals of Nelly's chorus to the vocals of the plaintiff's chorus. The

melody that is shared in the two songs, however, is not carried by the vocals in the plaintiff's

song. While it is carried by both synthesizer and vocals in Nelly's song, it is carried in the

plaintiff's song largely by the synthesizer "hook," which weaves throughout the entirety of the

plaintiff's song. The vocals in the plaintiff's song carry a very different and much less catchy

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melody. The melodic "hook" in the plaintiff's song seems to be carried by the synthesizer and,

to lay ears, it sounds quite similar to the melodic hook in Nelly's song.50 Moreover, both songs

share rap elements, and the while the lyrics are quite different (outside of the lyrical hook "Move

That Body"), they both share a sexual theme that is quite similar. Finally, although the title and

lyrical hook in the two songs are likely not themselves subject to copyright, their identity

enhances the overall similarity between the works taken as a whole.

        While the similarities between "I Like Your Way" and T-Pain's "Put It Down" are not as

striking as those between the two "Move That Body" songs, they are likewise substantial. Dr.

Ferrara concluded that there is no similarity between the beat and melody in "I Like Your Way"

and those in T-Pain's "Put It Down." See Rec. Doc. 58-4 at 115-16. The Court, however, finds a

similarity between the melody (carried by the vocals) in the chorus of both songs.51 This

melody is echoed in the chord progressions throughout both songs. Moreover, both songs share

a very similar tempo. Given all of these similarities, the court finds that as to these two pairs of

songs — "Move That Body" (versus Nelly's "Move That Body") and "I Like Your Way" (versus

T-Pain's "Put It Down") — a reasonable juror could find substantial similarity and that such a

finding would have adequate support.

       The only claim as to which the Court is uncertain is that of "Blues Man" (allegedly

infringed by T-Pain's "Reggae Night"). "Reggae Night" is a dialogue or skit involving two

women outside a night club with music playing in the background. The court does detect



       50
         Compare the synthesizer melody playing throughout PAUL BATISTE, MOVE THAT
BODY, with the melody in NELLY, MOVE THAT BODY at 0:04, 1:13, 2:14, and 2:48 to the end.
       51
         Compare PAUL BATISTE, I LIKE YOUR WAY at 1:00 – 1:30 and 3:34 – 4:03, with T-
PAIN, PUT IT DOWN at 1:03, 1:20, 2:07, 2:23, 3:10.

                                                 45
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similarity between the background music in "Reggae Night," which is a minor element of the

recording, and Plaintiff's "Blues Man." The "total concept and feel" of "Blues Man" versus that

of "Reggae Night" is completely different. Indeed, "Reggae Night" is not a song at all. Dr.

Ferrara opines that the "only melodic similarity" in the two songs are the "blues-based riffs."

Rec. Doc. 58-4 at 118 of 191. He concludes that the "melodic expression in these riffs ...embody

no significant melodic similarity," their only commonality being their "use of 'blues' scales,"

which are "fundamental musical building block[s]." Id. Dr. Ferrara's opinion may well be

correct. In virtually every other instance, his expert opinion has been borne out by the Court's

lay ear. However, in the case of "Reggae Night" versus "Blues Man," the Court is unable to

reach this conclusion as a matter of law at this juncture due largely to the difficulty it has had in

hearing the melody playing in the background in "Reggae Night."

       Thus, based on the record as it currently stands, drawing all reasonable inferences

therefrom in the plaintiff's favor, the Court is unable to conclude at this time that no reasonable

juror could find a substantial similarity between "Blues Man" and "Reggae Night" using a

"dissection" approach. Accordingly, in light of the suggestion in Positive Black Talk that

substantial similarity necessitates only that parts of a work be similar (provided the similar parts

are sufficiently qualitatively and/or quantitatively important), the Court will deny summary

judgment at this juncture as to this claim. This holding is without prejudice to the defendant's

right to re-urge a more targeted motion for summary judgment on the issue of substantial

similarity directed to this claim alone.

       C.      A Word About Sampling:

       The plaintiff's expert, Archie Milton, makes several allegations of digital "sampling"

throughout his report. See Rec. Doc. 111-2. He bases these allegations on results he claims to

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have obtained from a computer software called "Melodyne." Id. at 3. The defendant's sampling

expert, Paul Geluso, raises serious questions concerning Mr. Milton's methodology. See Rec.

Doc. 113-3. The Court need not address these questions today, however, for the plaintiff has

made no allegations in his complaint that would give rise to a claim of digital sampling. For

example, he has made no allegations that any copyright in sound recording has been infringed.

Rather, his allegations are limited to alleged infringements of copyrights in his music

compositions. This, of course, raises the specter of an amending complaint. The Court will

shortly issue a scheduling order with pretrial deadlines, including a deadline for amending

pleadings. However, the Court strongly cautions the plaintiff that he should consider very

carefully any decision to add sampling claims. First, while the Sixth Circuit has applied a

different standard to digital sampling (i.e., where sounds from the plaintiff's sound recording are

not imitated, but rather are literally lifted from the recording and incorporated into the

defendant's recording),52 other circuits have continued to apply the substantial similarity test to

claims based on sampling.53 Thus, it is far from clear that such claims would be exempt from

the analysis already applied herein.

       Second, aside from possible impediments in the law, there is the serious concern of a

good faith factual basis. While the plaintiff is certainly entitled to bring his bona fide grievances

to this Court, he is not entitled to throw everything he has against the proverbial wall to see what

might adhere. The Court has limited resources, and the plaintiff has already taken more than his



       52
            See Bridgeport Music, Inc. v. Dimension Films, 410 F.3d 792 (6th Cir. 2005).
       53
          See, e.g., Newton v. Diamond, 388 F.3d 1189, 1194-95 (9th Cir. 2004); VMG Salsoul,
LLC v. Ciccone, 2013 WL 8600435 *9 (C.D. Cal. 2013); Saregama India Ltd. v. Mosley, 687 F.
Supp. 2d 1325, 1338-41 (S.D. Fla. 2009).

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share by loading his complaint with over a hundred claims that had no realistic chance of

success. The Court will not again sift through a mountain of chaff to find a tiny handful of

viable grains. If an amending complaint is similarly laden, leave to file it will be denied.

IV.    CONCLUSION:

Accordingly;

       IT IS ORDERED that Defendant's Motion to Dismiss (Rec. Doc. 58), which has been

converted into a Motion for Summary Judgment pursuant to Rule 12(d) of the Federal Rules of

Civil Procedure, is hereby DENIED IN PART, in that it is denied as to (1) "Move That Body"

(allegedly infringed by Nelly's "Move That Body"); (2) "I Like Your Way" (allegedly infringed

by T-Pain's "Put It Down"); and (3) "Blues Man" (allegedly infringed by T-Pain's "Reggae

Night"), and GRANTED IN PART, in that it is granted in all other respects.

       IT IS FURTHER ORDERED that the plaintiff's claims, with the exception of those

relating to (1) "Move That Body" (allegedly infringed by Nelly's "Move That Body"); (2) "I Like

Your Way" (allegedly infringed by T-Pain's "Put It Down"); and (3) "Blues Man" (allegedly

infringed by T-Pain's "Reggae Night"), are hereby DISMISSED.

       IT IS FURTHER ORDERED that the Case Manager shall set a telephone scheduling

conference for the purpose of setting a trial date and pretrial deadlines and shall proceed with the

call docket as to claims against named defendants who have not appeared.

       New Orleans, Louisiana, this 25th day of June, 2014.



                                              ______________________________________
                                              KURT D. ENGELHARDT
                                              UNITED STATES DISTRICT JUDGE



                                                48
